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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   State of Arizona,                                 No. CV-24-00355-PHX-GMS
10                  Plaintiff,                         ORDER
11   v.
12   United States Internal Revenue Service,
     Daniel I. Werfel, United States Department
13   of Treasury, Janet Louise Yellen, and United
     States of America,
14
                    Defendants.
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16          Pending before the Court is Defendants’ Motion to Dismiss (Doc. 32), filed by
17   Secretary of the U.S. Department of Treasury Janet Yellen, IRS Commissioner Daniel
18   Werfel, the IRS, and the United States of America, pursuant to Federal Rules of Procedure
19   12(b)(1) and 12(b)(6). For the following reasons, the Court grants the IRS’s Motion to
20   Dismiss pursuant to Rule 12(b)(1) for lack of standing.
21                                       BACKGROUND
22          Attorney General Kris Mayes filed this lawsuit on behalf of Plaintiff State of
23   Arizona (“Arizona”). (Doc. 1 at 3). Arizona names as Defendants Janet Yellen, in her
24   official capacity as the Secretary of the U.S. Department of Treasury; Daniel Werfel, in his
25   official capacity as the IRS Commissioner; the IRS; and the United States of America
26   (collectively the “IRS”). (Id. at 4). Arizona brings the following claims against the IRS:
27   unlawful denial of general welfare under 26 U.S.C. § 61, and unlawful taxation of non-
28   income under 26 U.S.C. § 61, a violation of Congress’ taxing power under the U.S.
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 1   Constitution, a violation of the principle of equal sovereignty under the U.S. Constitution,
 2   and a violation of 5 U.S.C. § 706. (Id. at 15-19).
 3          In February 2023, the IRS issued guidance to clarify “the federal tax status involving
 4   special payments made by 21 states in 2022.” (Id. at 4). The IRS stated, “If a payment is
 5   made for the promotion of the general welfare or as a disaster relief payment, for example
 6   related to the outgoing pandemic, it may be excludable for federal tax purposes.” (Id. at
 7   5). The IRS further stated that the determination of “whether payments qualify for these
 8   exceptions is a complex fact intensive inquiry that depends on a number of considerations.”
 9   (Id.). Accordingly, the IRS determined that the payments made by 21 states “were
10   nontaxable in whole or in part.” (Doc. 1 at 6).
11          In May 2023, Arizona enacted the Arizona Tax Rebate (“Rebate”), which was a
12   one-time rebate that “returned tax revenue to taxpayers who (a) had dependents; (b) had
13   met the income threshold to claim the Dependent Tax Credit; and (c) had paid state income
14   tax in a year between 2019 and 2021.” (Id. at 2). The Rebate provided “$250 for each
15   dependent under age seventeen and $100 for dependents age seventeen or older, capped at
16   $750 per taxpayer.” (Id. at 6).
17          In August 2023, the IRS issued another notice “to describe the rules that the [IRS]
18   applies in determining the federal income tax consequences of refunds of State or local
19   taxes and certain other payments made by State or local governments . . . to individuals.”
20   (Id. at 7). In this notice, the IRS allegedly affirmed its February 2023 guidance. (Id.). In
21   an accompanying news release, the IRS stated, “Most taxpayers receiving state tax refunds
22   do not have to include the state tax refund in income for federal tax purposes.” (Id. at 9).
23          In December 2023, the IRS informed the Arizona Department of Revenue in a video
24   meeting that the Rebate was “federally taxable in full.” (Doc. 1 at 10). The IRS did not
25   explain this decision until February 15, 2024, when the IRS stated that the determination
26   of “whether payment programs qualify for an exclusion requires a fact-intensive analysis.”
27   (Id. at 11).
28          The Arizona Department of Revenue conveyed the IRS’s decision to Arizona
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 1   taxpayers, who paid “an estimated $20.8 million to the IRS.” (Id. at 1, 13). The Arizona
 2   Department of Revenue calculated that the IRS’s decision to impose federal taxes on the
 3   Rebate deprived Arizona of “approximately $480,000 in state and local transaction
 4   privilege tax revenue that would have been derived from taxpayers’ spending.” (Id. at 13).
 5   Arizona also alleges that the IRS deprived “Arizona and its taxpayers of consistent and
 6   equitable treatment” because the IRS determined that the Rebate was taxable, but that other
 7   state refund programs were nontaxable. (Id. at 11, 9).
 8           On February 12, 2024, Arizona filed its complaint, requesting injunctive and
 9   declaratory relief to enjoin the IRS from federally taxing the Rebate. (Doc. 1). On April
10   29, 2024, the IRS filed a Motion to Dismiss, seeking dismissal on two primary grounds:
11   (1) lack of subject matter jurisdiction pursuant to Rule 12(b)(1); and (2) failure to state a
12   claim pursuant to Rule 12(b)(6). (Doc. 32).
13                                          DISCUSSION
14      I.      Legal Standard
15           The Court may reach the merits of a dispute only if it has jurisdiction to do so. Steel
16   Co. v. Citizens for a Better Env’t, 523 U.S. 83, 93-95 (1998). Jurisdiction is limited to
17   subject matter authorized by the Constitution or by statute. Kokkonen v. Guardian Life Ins.
18   Co., 511 U.S. 375, 377 (1994). Under Rule 12(b)(1), a defendant may challenge at any
19   time a federal court’s jurisdiction to hear a case. See Fed. R. Civ. P. 12(b)(1), 12(h)(3).
20   Such a challenge may be either facial or factual. White v. Lee, 227 F.3d 1214, 1242 (9th
21   Cir. 2000). A facial challenge asserts that the complaint, on its face, fails to allege facts
22   that would invoke federal jurisdiction. Safe Air for Everyone v. Meyer, 373 F.3d 1035,
23   1039 (9th Cir. 2004). In a facial challenge to subject-matter jurisdiction under Rule
24   12(b)(1), the court must accept as true all material allegations in the complaint and construe
25   the complaint in favor of the plaintiff. Maya v. Centex Corp., 658 F.3d 1060, 1068 (9th
26   Cir. 2011). A factual challenge disputes the veracity of allegations in the complaint that
27   would otherwise invoke federal jurisdiction, Safe Air for Everyone, 373 F.3d at 1039, and
28   the court may look beyond the complaint when resolving a factual challenge to subject-
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 1   matter jurisdiction, White, 227 F.3d at 1242.
 2              a. Standing
 3          A plaintiff seeking “to invoke the jurisdiction of the federal courts must satisfy the
 4   threshold requirement imposed by Article III of the Constitution by alleging an actual case
 5   or controversy.” Maya, 658 F.3d 1060, 1067 (9th Cir. 2011) (citing City of Los Angeles v.
 6   Lyons, 461 U.S. 95, 101 (1983)). Standing is a component of the “case-or-controversy”
 7   requirement and serves to ensure that the plaintiff is “a proper party to invoke judicial
 8   resolution of the dispute.” Warth v. Seldin, 422 U.S. 490, 518 (1975)
 9          To have standing for injunctive relief under Article III, a plaintiff must show (1) it
10   is under a threat of suffering an “injury in fact” that is (a) concrete and particularized and
11   (b) actual and imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to
12   the challenged action of the defendant; and (3) it is likely that the injury will be redressed
13   by a favorable decision. Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). At “the
14   pleading stage, the plaintiff must clearly allege facts demonstrating each element” of
15   standing. Spokeo v. Robins, 578 U.S. 330, 338 (2016).
16          In its Rule 12(b)(1) Motion to Dismiss, the IRS makes a facial challenge to
17   Arizona’s standing. (Doc. 32 at 10-13). Accepting Arizona’s allegations in the Complaint
18   as true, the Court finds that Arizona fails to establish an injury in fact.
19                      i. Loss of Tax Revenue
20          Arizona argues that it has standing for all of its claims because the IRS’s decision
21   to impose federal taxes on the Rebate caused the state to suffer a loss of tax revenue. (See
22   Doc. 1 at 3, 13). But federal courts have held that the loss of state tax revenue generally
23   does not constitute an injury in fact for the purposes of standing. Kansas v. Biden, No. 24-
24   1057, 2024 WL 2880404, at *16 (D. Kan. June 7, 2024) (holding that “reduced state tax
25   revenue doesn’t qualify as an injury in fact sufficient to confer standing on a state”); Com.
26   of Pa., by Shapp v. Kleppe, 533 F.2d 668, 672 (D.D.C. 1976) (“[T]he unavoidable
27   economic repercussions of virtually all federal policies, and the nature of the federal union
28   as embodying a division of national and state powers, suggest to us that impairment of state
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 1   tax revenues should not, in general, be recognized as sufficient injury in fact to support
 2   state standing.”); XY Planning Network, LLC v. United States Sec. and Exch. Comm’n, 963
 3   F.3d 244, 253 (2d. Cir. 2020) (holding that a state lacked Article III standing on the basis
 4   of a loss of tax revenue in part because the ultimate tax revenue in a state “is driven by
 5   countless variables”); State of Florida v. Mellon, 273 U.S. 12, 18 (1927) (holding that a
 6   state is not entitled to sue to enjoin the collection of federal taxes because “not only is the
 7   state’s right of taxation subordinate to that of the general government, but the anticipated
 8   result [of diminished tax revenue] is purely speculative, at most, only remote and indirect”).
 9          Moreover, Arizona has not shown a “direct injury in the form of a loss of specific
10   tax revenues.” Wyoming v. Oklahoma, 502 U.S. 437, 448 (1992). In its Complaint,
11   Arizona states that the Arizona Department of Revenue calculated that the IRS’s decision
12   deprived Arizona “of approximately $480,000” in tax revenue. (Doc. 1 at 13). This theory
13   of injury, however, is derivative and speculative. This theory is derivative of an alleged
14   harm to the Arizona taxpayers who paid the federal tax and depends on a number of
15   assumptions regarding how the taxpayers would have spent their money otherwise. If
16   accepted by the Court, this broad theory of injury for standing would allow Arizona to
17   challenge any assessment of federal tax on the speculative notion that Arizona taxpayers
18   would spend the amount that they would have otherwise paid in federal taxes on purchases
19   that are subject to Arizona state or local taxes. In fact, the only certainty regarding how
20   Arizona taxpayers would have decided to spend the money that they otherwise paid in
21   federal taxes is, as Arizona itself states, that “Arizona taxpayers would have retained the
22   [money] to spend as they saw fit.” (Doc. 1 at 13). Arizona has not demonstrated a direct
23   link between the IRS’s decision and its loss of state tax revenue, relying instead on a causal
24   chain that is too attenuated to support standing in this case. See XY Planning Network,
25   LLC v. United States Sec. and Exch. Comm’n, 963 F.3d 244, 253 (2d. Cir. 2020) (holding
26   that a state’s theory of standing regarding diminished tax revenue fails because it “rests too
27   heavily on conclusory statements and speculative economic data”).
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 1                    ii. Sovereign Injury
 2          Arizona also argues that it faced a “sovereign injury” because the IRS determined
 3   that 21 state payments and refunds “were nontaxable in whole or in part, then discriminated
 4   against Arizona’s Tax Rebate, enacted three months later, by denying it the same
 5   treatment.” (Doc. 40 at 17). Arizona, however, has not alleged sufficient facts to
 6   demonstrate an injury because of the IRS’s alleged unequal treatment of similarly situated
 7   states. The IRS’s guidance in February 2023 “clarified the federal tax status involving
 8   special payments made by 21 states in 2022.” (Doc. 1 at 4). The IRS’s February 2023
 9   guidance, therefore, applied to only the 21 states that made special, one-time payments in
10   the 2022 tax year.1 Arizona does not fall within that group of states. Arizona made its
11   “onetime income tax general welfare rebate” in May 2023, (Doc. 1 at 6), which occurred
12   in the 2023 tax year, when, among other things, the effects of COVID were different than
13   they were in the 2022 tax year. In its Complaint and Response to the IRS’s Motion to
14   Dismiss, however, Arizona fails to reference a single state that made a one-time payment
15   in the 2023 tax year but received different treatment than Arizona received from the IRS.
16   (See Doc. 1; see also Doc. 40). And, during oral argument on October 23, 2024, Arizona
17   was unable to point to a state that made a payment in the 2023 tax year and received
18   different treatment from the IRS. Arizona references only the states in the 2022 tax year,
19   (see Doc. 1 at 9-10), but since Arizona is not similarly situated with those states that issued
20   special, one-time payments in the 2022 tax year, the IRS’s alleged treatment of those states
21   does not support a claim of unequal treatment.
22          Further, even if Arizona had brought sufficient facts to show that it experienced an
23   injury because the IRS allegedly made a different tax determination regarding a similarly
24   situated state’s one-time payment in the 2023 tax year, such disparity in federal taxing
25   would not necessarily constitute an injury in fact for the purposes of Article III standing.
26   In State of Florida v. Mellon, the Supreme Court addressed whether an alleged lack of
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      Arizona recognizes in its Complaint that the “IRS purported to state that its February
     2023 guidance applied only for payments made in 2022.” (Doc. 1 at 7).
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 1   uniformity in the application of the federal collection of taxes may constitute a harm
 2   sufficient to confer standing. 273 U.S. at 17. The Supreme Court held, “The contention
 3   that the federal tax is not uniform . . . is without merit. Congress cannot accommodate its
 4   legislation to the conflicting or dissimilar laws of the several states, nor control the diverse
 5   conditions to be found in the various states, which necessarily work unlike results from the
 6   enforcement of the same tax. All that the Constitution . . . requires is that the law shall be
 7   uniform in the sense that by its provisions the rule of liability shall be alike in all parts of
 8   the United States.” Id. Here, the IRS applied the same “complex fact intensive inquiry”
 9   in deciding whether to impose federal taxes on the Arizona Rebate, just as any other state.
10   The mere fact that the “complex fact intensive inquiry” may have yielded different results
11   in the IRS’s decision to impose federal taxes on the Arizona Rebate as opposed to another
12   state’s payment does not constitute sufficient injury for standing.2 See State of Florida,
13   273 U.S. at 17.
14                     iii. South Carolina v. Regan
15          At oral argument on October 23, 2024, Arizona argued that it has standing in this
16   case because the state of South Carolina was able to bring a claim against the federal
17   government regarding federal taxing in South Carolina v. Regan, 465 U.S. 367 (1984).
18   This case, however, is distinguishable from South Carolina v. Regan.
19          In South Carolina v. Regan, Congress amended Section 103(a) of the Internal
20   Revenue Code to restrict the types of bonds that qualify for a tax exemption. Id. at 371.
21   South Carolina argued that the “practical effect” of the amendment was to require the state
22   to issue only a certain type of bonds to its citizens, and the amendment “destroys its
23   freedom to issue obligations in the form that it chooses.” Id. at 371-72. South Carolina
24   further argued that the amendment would force the state to pay its bondholders a higher
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       The IRS announced in its February 2023 guidance that the determination of “whether
     payments qualify for [exceptions to federal taxing] is a complex fact intensive inquiry that
27   depends on a number of considerations.” (Doc. 1 at 5). The IRS affirmed that guidance in
     August 2023. (Id. at 7). When the IRS decided to impose federal taxes on the Arizona
28   Rebate in December 2023, the IRS explained that the determination of “whether payment
     programs qualify for an exclusion requires a fact-intensive analysis.” (Id. at 11).
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 1   rate of interest on such bonds. Id. In other words, Congress’s amendment of Section 103(a)
 2   allegedly caused injury to South Carolina by restricting the state’s ability to make decisions
 3   and forcing the state to pay more money to its citizens. Article III standing was not at issue
 4   in the majority opinion for South Carolina v. Regan. See id. at 370-82.
 5            Here, the IRS’s imposition of a federal tax does not require Arizona to take any
 6   action, restrict Arizona’s actions, or force Arizona to pay more money to its citizens. The
 7   IRS’s imposition of a federal tax does not have any alleged effect on Arizona besides the
 8   prospect of the state receiving a diminished tax revenue. Since the facts of this case are
 9   wholly distinguishable, South Carolina v. Regan does not provide Arizona with a
10   successful basis to show that the state has Article III standing here.
11      II.      Conclusion
12            Thus, Arizona has failed to establish the sufficient injury in fact necessary to confer
13   standing to bring any of its claims. Accordingly, the Court grants the IRS’s Motion to
14   Dismiss pursuant to Rule 12(b)(1) for lack of standing. The Court lacks subject matter
15   jurisdiction to consider the merits of Arizona’s Complaint and need not consider the IRS’s
16   Motion to Dismiss pursuant to Rule 12(b)(6). Since the defects in the Complaint cannot
17   be cured by amendment, the Court dismisses Arizona’s Complaint with prejudice.
18            IT IS THEREFORE ORDERED that Defendants Secretary of the U.S.
19   Department of Treasury Janet Yellen, IRS Commissioner Daniel Werfel, the IRS, and the
20   United States of America’s Motion to Dismiss (Doc. 32) is GRANTED.
21            IT IS FURTHER ORDERED directing the Clerk of Court to terminate this action
22   and enter judgment accordingly.
23            Dated this 15th day of November, 2024.
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